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RUTH A. HARVEY
KIRK T. MANHARDT
LLOYD H. RANDOLPH
SERJ F. ALI
SHANE HUANG
United States Department of Justice
P.O. Box 875
Ben Franklin Station
Washington, DC 20044-0875
Telephone: (202) 307-0356
Email: lloyd.randolph@usdoj.gov

Attorneys for the United States
                      UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII

UNITED STATES OF AMERICA,

             Plaintiff,

v.

 SANDWICH ISLES COMMUNI-                           Civ. No. 18-145 JMS RT

 CATIONS, INC., et al.,

             Defendants.

     UNITED STATES’ APPLICATION FOR WRIT OF EXECUTION

      The United States of America applies, under 28 U.S.C. §§ 2001, 2002, 2004,

3002, 3202, and 3203 of the Federal Debt Collection Procedures Act (“FDCPA”),

for issuance of a Writ of Execution to levy property in which the Defendant-

Judgment Debtor, Sandwich Isles Communications, Inc. (“Sandwich Isles”), has a

substantial nonexempt interest, as follows:

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1.    On February 18, 2020, this Court entered judgment against Sandwich Isles,

and the outstanding balance as of the date of this application, exclusive of accruing

post-judgment interest, is:

$138,557,635.82           Judgment amount
($            0)          Credits applied to judgment
 $138,557,635.82          Debt balance

2.    The Defendant-Judgment Debtor’s full name is Sandwich Isles

Communications, Inc., its Federal employer identification number is xxx-xx-7771,

and last known address is 77-808 Kamehameha Highway, Mililani, HI 76789.

3.    To enforce the judgment entered against Sandwich Isles in this matter, the

United States requests that a Writ of Execution be issued for the United States

Marshal’s Service (“USMS”) to levy on the following property ( “the Property”)

held in the name of Sandwich Isles:

      a) the relationships that Sandwich Isles has with its customers and suppliers,

      and the telecommunications network;

      b) equipment titled in the name of Sandwich Isles and not previously

      transferred to Michael Katzenstein, as chapter 11 trustee of Paniolo Cable

      Company, LLC, as a result of an execution sale on March 6, 2020,

      including: buildings functioning as cable landing stations, central offices or a

      network operations center; other infrastructure facilities, including conduits,

      manholes, handholes, and towers; and equipment, including copper and fiber
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      optic and telecommunication cables, copper and fiber optic transmission,

      multiplexing, circuit switching, circuit transport equipment, IP routing and

      switching equipment, test equipment, power systems, cooling systems,

      security systems, network management systems, cross connects and cross

      connect panels, including of the types, and at the locations more completely

      described in Attachment A; 1 and

      c) all other supporting assets related to those things described in subsections

      (a) and (b), such as easements, rights of way, and other real property

      interests, licenses and other rights, vehicles, trailers and tools.

4.    The United States requests that the Court authorize the USMS to use

reasonable force, if necessary, to enter the real property at 77-808 Kamehameha

Highway, Mililani, HI 76789, to levy this writ by posting a copy of it and all

supporting paperwork at that location.




1
 Attachment A is excerpted from documents numbered SIC0151983-SIC0015228
and produced by Sandwich Isles. The Court has held that by failing to respond
timely to the United States’ November 20, 2018 United States’ First Admissions
Request To Sandwich Isles, requests 1868-74, SIC has admitted that these
documents do not contain information subject to a non-disclosure agreement
between Sandwich Isles and the United States, and that Sandwich Isles does not
object to their use in discovery related to this Case, to the unsealed filing of the
documents with the Court, or to the introduction into evidence at any hearing or
trial in this Case. See Order Denying Sandwich Isles Communications, Inc.’s
Motion For Protective Order, ECF # 215.

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5.    The United States further requests that upon levy, the USMS be authorized

to contract with vendors as needed.

6.    After levy of the subject Property, under the proposed writ the USMS would

return a Notice of Levy, and pursuant to 28 U.S.C. § 3202(c), the United States

then would serve Sandwich Isles and each person whom the United States has

reasonable cause to believe has an interest in the Property subject to the Writ of

Execution with the Application, Writ, Notice of Levy, and Clerk’s Notice.

7.    Furthermore, under the proposed Writ, all Property would be held in

abeyance until further Order from this Court pending an application by the United

States for Alternative Sale of the Property. Given the unique nature of the

Property, only a limited number of sophisticated buyers likely would be willing to

purchase and use the Property, so techniques typically used to sell personal

property or real property would not be feasible, commercially reasonable, or

appropriate.

8.    Following the U.S. Marshal’s levy, the United States expects to conduct a

commercially reasonable process for marketing the Property, including by

communicating with private buyers. Thereafter, the United States will move the

Court for an appropriate order of sale to sell the Property. 28 U.S.C. § 3203(g).

Property of a judgment debtor which is subject to sale to satisfy a judgment may be

sold by judicial sale. 28 U.S.C. § 3202(e) (incorporating by reference 28 U.S.C.


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§§ 2001, 2002 and 2004). Property may be sold under “such terms and conditions

as the court directs,” including by private sale. 28 U.S.C. §§ 2001(a), (b), 2004.

Date: April 30, 2020                   Respectfully submitted,

                                       JOSEPH H. HUNT
                                       Assistant Attorney General

                                       RACHEL S. MORIYAMA #3802
                                       Civil Chief, District of Hawaii
                                       Acting under Authority Conferred by 28
                                       U.S.C. § 515

                                       /s/ Lloyd H. Randolph
                                       RUTH A. HARVEY
                                       KIRK T. MANHARDT
                                       LLOYD H. RANDOLPH
                                       (D.C. Bar 376009)
                                       SERJ F. ALI
                                       SHANE HUANG
                                       (Illinois Bar 6317316)
                                       Commercial Litigation Branch
                                       Civil Division
                                       United States Department of Justice
                                       P.O. Box 875
                                       Ben Franklin Station
                                       Washington, DC 20044-0875
                                       Telephone: (202) 307-0356
                                       Email: lloyd.randolph@usdoj.gov

                                       Attorneys for the United States




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